
USCA1 Opinion

	










          January 23, 1996      [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                                                     
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        No. 95-1817

                                    JACK SCHWARTZ,

                                Plaintiff, Appellant,

                                          v.

                                THE MITRE CORPORATION,

                                 Defendant, Appellee.

                                                     
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                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Reginald C. Lindsay, U.S. District Judge]
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                               Torruella, Chief Judge,
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                                 Cyr, Circuit Judge,
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                         and Skinner,* Senior District Judge.
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             Paul H. Merry, with whom Garrity, Levin &amp; Muir was on brief for
             _____________            _____________________
        appellant.
             David J. Kerman, with whom Jackson, Lewis, Schnitzler &amp; Krupman
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        was on brief for appellee.



                                                     
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             *Of the District of Massachusetts, sitting by designation.














                    Per  Curiam.   Plaintiff-appellant Jack  Schwartz chal-
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          lenges the summary judgment  order dismissing his age discrimina-

          tion  claims under  federal  and state  law1  against his  former

          employer, MITRE Corporation ("MITRE").  Following  oral argument,

          full briefing, and careful plenary  review of the entire  record,

          we  affirm the  district  court judgment,  substantially for  the

          reasons explained in Woods  v. Friction Materials, Inc.,  30 F.3d
                               _____     ________________________

          255 (1st Cir. 1994).

                    Schwartz commenced  employment with  MITRE in  1983, at

          age  fifty-two, as a member of its  technical staff.  In the fall

          of 1990, his job performance rating placed  him in the bottom ten

          percent of  all technical staff  employees in  his division  with

          comparable experience.    A  few months  later,  MITRE  laid  off
          __________ __________

          Schwartz  and  118  other  employees  in  a reduction  in  force.

          Approximately  one  year  later,  Schwartz  instituted  this  age

          discrimination action. 

                    The parties  acknowledge that the only  issue on appeal

          is  whether Schwartz  proffered evidence  sufficient to  enable a

          reasonable trier of fact  to find that MITRE's stated  reason for

          discharging him was a pretext for age discrimination.  See id. at
                                _______ ___ ___ ______________   ___ ___

          262.     There   can   be  no   question   that  MITRE   gave   a

          nondiscriminatory reason  for firing  Schwartz, viz.,  failure to

          perform as well as other division employees  with similar experi-

                              
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               1See 29 U.S.C.   623 (1988 &amp; Supp. V); Mass. Gen. Laws Ann.
                ___
          ch. 151B (West 1996); Charland v. Muzi Motors, Inc., 631 N.E.2d
                                ________    _________________
          555, 557-58 (Mass. 1994)(ruling that chapter 151B provides the
          exclusive statutory remedy for age discrimination).  

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          ence.  Schwartz responded, inappositely, with affidavits general-

          ly attesting to his  abilities as an engineer and  physicist; the

          affidavits did not,  however, raise  a material issue  as to  the

          comparability of  Schwartz'  job performance  vis- -vis  that  of

          other  division  employees      the articulated  reason  for  the

          termination.   Id.  Nor did the statistical evidence submitted by
                         ___

          Schwartz establish  a trialworthy issue in  this disparate treat-

          ment case,  since it did  not purport  to show that  he was  dis-

          charged by  MITRE based  on a  discriminatory animus,  as distin-

          guished  from inferior job performance.  See LeBlanc v. Great Am.
                                                   ___ _______    _________

          Ins. Co., 6 F.3d 836, 848 (1st  Cir. 1993) (noting limited proba-
          ________

          tive value of statistical  evidence in disparate treatment case),

          cert. denied, 114 S. Ct. 1398 (1994).        Finally,    Schwartz
          _____ ______

          attested to an occasion in  late 1989, when one George Randig,  a

          MITRE department  head, allegedly informed a  group of employees,

          that MITRE management intended to rate senior employees according

          to  a new, more  exacting performance standard.   Although Randig

          was  not involved  in any way  in the decision  to terminate him,

          Schwartz  contends  that this  statement  evinces  that age  bias

          infected MITRE's entire job  performance evaluation system in the

          year  prior to  the reduction  in force  which cost him  his job.

          Based on a  careful review  of the  affidavit in  the light  most

          favorable to Schwartz, id. at 841, we conclude that it too failed
                                 ___

          to raise a genuine issue of material fact on the question of pre-

          text.          First, as the district court held,  the inferences

          Schwartz would have  the court draw are highly  speculative; just


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          how  speculative cannot  readily be  determined due  to Schwartz'

          failure to proffer the Randig language upon which he would have a

          factfinder  draw the inferences for  which he contends.   And, in

          all  events, MITRE considered  Schwartz' job performance inferior

          to  other  division  employees  of similar  experience  and  age.
                                                                  ___  ___

          Consequently,  even  assuming the  affidavit  were sufficient  to

          support a  reasonable inference that MITRE  rated older employees

          more severely  than younger employees     to facilitate inclusion

          of older employees  in any  reduction in force     the  affidavit

          nevertheless is inapposite to the articulated basis for Schwartz'

          termination.  In sum,  there is no competent evidence  of pretext

          which would support the present age discrimination claim.

                    Affirmed.
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